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                     U N IT ED ST A T E S D IST R IC T C O U R T
                     SO U T H E R N D ISTR IC T O F FL O R ID A

CAPELLA PHOTONICS,lN C.,
          Plaintiff,

CISCO SYSTEM S,lN C .,                                     CaseNo 14-20529-CIV-SEITZ J
                                                                    .


           D efendant.

V.
CIEN A CO RPOM TIO N ,                                     Case N o.14-20530-C1V -SE1TZ
            Defendant.

V.
FU JITSU N ETW O RK                                        C ase No.14-20531-C1V -SE1TZ
CO M M UN ICA TION S,IN C.,
             Defendant.

9.
TELLABS OPEM TION S,lN C.,and                              Case N o.l4-60350-C1V -SE1TZ
CORIANT (USA)INC.,
              D efendants.
                                       /

        O RD ER G R AN TIN G DEFEN DA NTS'M O TION S TO TR AN SFER

       THIS M ATTER isbeforethe Courton themotionsto transfervenuetotheNorthern

DistrictofCalifom ia filed bythefiveDefendantsintheabove-styled actions:Cisco System s,

 lnc.,CienaComoration,FujitsuNetworkCommunications,lnc.,TellabsOperations,lnc.,and
 Coriant(USA)Inc.(collectivelydtDefendants').(DE-19(14-20529);DE-43(14-20530);DE-
 25(14-20531);DE-63(14-60350)1.1BecauseDefendantshavesatisiedtheirburdentoshow
thatthe factualcircum stances strongly favortransferto the N orthern D istrictofCalifornia

 pursuantto28U.S.C.j 1404(a),theCourtwillgrantDefendants'motionstotransfer.



 1      Becausethesem otionsfocuson essentially thesam efactualand legalissues,theCourt
 w illaddress them together,noting any relevantdistinctions as they arise.
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                        1.      Proceduraland FactualBackground

A .The Patents atIssue and ProceduralH istory

        The Com plaintallegesthatPlaintiffistheownerofthepatents-in-suit:United States

PatentNo.1V 42,368(the1.1368patent'')andUnitedStatesPatentNo.1V 42,678(the11:678
Patent''l.zThe'368patentwasinventedbyTaiChen,JeffreyP.W ilde,andJosephE.Davis
andwasissued on M ay 17,2011.The :678 patentwasinvented by Jeffrey P.W ildeand Joseph

E.Davisand wasissued on Septem ber6,2011.M r.W ilde and M r.Daviscurrentlyresidein

northel'
       nCalifornia,whileMr.Chen'slocationisurlknown.(Hr'gTr.140:20-21,July 10,
2014.)Theprosecutingattomeysforthetwopatents,BarryYoung,DavidAlberti,andJoshua
Isenberg,arealsolocatedinnorthel'nCalifomia.(CheungDecl.Exs.H,J,L gDE-43-9,43-11,
43-13(14-20530)1).Thepatents-in-suithaveboth been assignedtoPlaintiffCapellaPhotonics,
Inc.(1çCape11a''),whoseprincipalofficeisinnorthern California.
        Both patents-in-suitrelateto fiber-opticcom munication system s,which transm itdata

 overopticalfibersin theform oflightsignals.M ultiple signals,each using a different

 wavelength oflight,can travelalonga single opticalfibersim ultaneously.Specifically,the

 patents-in-suitareforreconfigurableopticaladd-dropmultiplexers($kROADM''s),which are
 devicesthatcan separateanddirecteach wavelengthoflightintoseparatechannels.A major
 componentofthepatents-in-suitisawavelength selectiveswitch ($tW SS'')3,whichusesan
 array ofmicromirrorsto routelightsignalsbetween opticalfibers.According to their

 sum m aries,distinctive feattlresofthe patents-in-suitinclude the m icrom irrors'ability to pivot

 along two axesand theROADM 'Scapacity forpowercontrol.


 2      ThesepatentsareareissueofN o.67879F750 and No.6,625,346,respectively.
       The W SS isalso known asa tsw avelength-separating router''or a dtw avelength cross-
 connectsw itch.''
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        On February 7,2014,Plaintifffiled separatesuitsagainstDefendantsCisco System s,

Inc.(sf isco'') CienaCorporation(ticiena''),FujitsuNetworkCommunications,Inc.(6tFNC'')
andTellabs, lnc.(dtTellabs'')forinfringementofbothpatents-in-suit.4Plaintiffallegesthat
Defendantsidinfringedand continueljtodirectlyinfringe...bymaking,using,selling,offering
to selland/orim porting opticalROADM productsthatincorporate awavelength selective

switch.''(See,e.g.,SecondAm.Compl.(DE-82 (14-20530)1at5!23.)
        On April4,2014,Cisco movedto transferto theN orthern DistrictofCalifornia

pursuanttosection 1404(a).5OnApri129,2014,Capellaamended itscomplaintagainstTellabs
toaddDefendantsTellabsOperations,lnc.(ûtTellabsOps''),ColumbusNetworksUSA,lnc.,
    dcoriant(usA)Inc.(t'coriant-'l.6onM ay 1,2014,capellaamendeditscomplaintagainst
Cienatoadd DefendantTelefonica,S.A.

        OnJuly 10,2014,theCourtheldajointschedulingandplarmingconference.Following
theconference,Tellabs,lnc.and Telefonica,S.A.weredism issed,Telefonica lntem ational

W holesaleServicesUSA,lnc.wasjoined,and ColumbusNetworksUSA,Inc.andTelefonica
lntenzationalW holesaleSenicesUSA,lnc.weresevered.7(SeeDE-74(14-20529);DE-80,85

(14-20530);DE-63(14-20531);DE-71(14-60350)1.



4       Becausethe samepatentsand claim sofinfringementareatissue in each case,they
 wereal1assignedtotheundersignedinordertopromotejudicialefficiencyandreducecosts.
 W iththeparties'consent,thecaseshavesincebeenconsolidatedforpretrialpurposes.(k
                                                                               s'
                                                                                ee
 DE-76(14-20529);DE-86(14-20530);DE-65(14-20531);DE-75(14-60350)1.
        FN C and Ciena m oved to transferon A pril 15 and A pril25,2014,respectively.
        Coriantand TellabsOpsm ovedto transferon June20,2014.
        Colum busNetworksUSA,lnc.and TelefonicaInternationalW holesaleServicesUSA,
 Inc.were severed because they are Florida-based custom ersofCoriantand Ciena and offerno
 m eaningfulcontribution tothepatentdispute.Capella'scasesagainstthem arestayed pending
 theresolution ofthe above-styled actions.
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 B.The Parties

   1. PlaintiffCapella
       Capella is a D elaw are cop oration w ith a principalplace ofbusiness in San Jose,

California.Capella designed,developed,produced,and sold sw itching devicesforoptical

transm ission networks,including the W SS,untilitsold itsm anufacturingoperationstwo years

ago and ceased doing business.Thus,Capella iscurrently a nonpracticing entity.Capellahas

no officesoroperationsin Florida,and itsseniorm anagem entand lead counselin thismatter

allreside in the N orthem D istrictofCalifornia.

   2. DefendantCisco,CaseNo.14-20529
       Cisco is a California com oration w ith its principalplace ofbusinessin San Jose,

California.Forty-fivepercentofitsU.S.employeeswork in itseightofficesin theNorthern

DistrictofCalifornia.(HaaseDecl.gDE-19-4(14-20529))!!7,9.)Ciscohastwoofficesin
Florida,butneitherofficehasanyinvolvementwiththeaccusedproducts.(1d.!! 11-13.)The
majorityoftheCiscoemployeesinvolvedin developingand marketingtheaccusedproducts
workin Cisco'sSanJoseoffices.(JohnsonDecl.(DE-19-1(14-20529))!!5,12,14.)
       Cisco purchasesthe W SS devicesincorporated into itsaccused productsfrom three

suppliers:JDSUniphaseCorporation($tJDSU'') FinisarComoration($tFinisar''),and Oclaro
Inc.(tdOc1aro'').(1d !!8-10.)BecauseCiscodoesnotmanufacturetheW SS devices,ithas
lim ited know ledge ofthe design and developm entofthe sw itch.The w itnessesand docum ents

from the W SS suppliersare im portantto Cisco'sdefenses ofnon-infringem entand invalidity.

       DefendantCiena,CaseNo.14-20530
       Ciena is a Delaw are corporation w ith itsprincipalplace ofbusiness in Hanover,

M aryland.W hile Ciena doeshavethirteen employeesin Doral,Florida,noneofthem haveany


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                                                 4-
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involvementwiththedesignordevelopmentoftheaccusedproducts.(RothensteinDecl.(DE-
43-24(14-20530))! 11.)M oreover,Ciena'slargestU.s.-basedresearchanddevelopment
facilityislocatedin SanJose,Califomia.(1d.!8.)
       LikeCisco,Ciena purchasestheW SS devicesincom orated into itsaccused products

from JDSU,Finisar,andOclaro.(Id !4.)BecauseCienadoesnotmanufacturetheW SS
devices,it,too,haslim ited knowledgeofthedesign and developm entofthe switch.

Accordingly,witnessesand docum entsfrom the W SS suppliersare importantto Ciena's

defensesofnon-infringem entand invalidity.

    4. DefendantFNC,CaseNo.14-20531
       FN C isaCaliforniacorporation with itsprincipalplaceofbusinessin Richardson,

Texas. FN C hasno officesin Floridabutdoesleaseonecubicle8from an outside party in

Jacksonville,Florida.(GalouDecl.(DE-27(14-20531))!! 13-15.)FNC hasaplaceof
businessin Sunnyvale,California,which employsroughly 86 people,including engineers

involvedinthedesign,development,andtestingoftheaccusedproducts.(1d.!9.)
       LikeCisco and Ciena,FNC purchasestheW SS devicesincorporated into itsaccused

productsfrom JDSU,Finisar,andOclaro.(1d.!!5-7.)BecauseFNC doesnotmanufacturethe
 W SS devices,it,too,haslimited knowledgeofthedesign,developm ent,and function ofthe

 switch.Thewitnessesand documentsfrom theW SS suppliersareimportantto FNC'Sdefenses

 ofnon-infringem entand invalidity.

    J. DefendantsTellabs0psandCoriant,CaseNo.14-60350
        TellabsOpsisa Delaware corporation with itsprincipalplaceofbusinessin Naperville,

 Illinois.TellabsOpshasacorporateofficein SantaClara,California.(W angDecl.gDE-63-3

 8      The employeewho occupiesthatcubicle,however,isnotinvolved inthedesign,
 developm ent,m anufacture,oranalysis ofthe accused product.
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(14-60350)1!!9-10.)W hileTellabsOpspreviouslyleasedtwoofficesinFlorida,ithasnot
donesosince2011.(1d.! 15.)
       CoriantisaDelawarecorporation with itsprincipalplace ofbusinessin Bridgewater,

New Jersey.CorianthasnoofficesinFloridaorCaliforniabutdoesbusinessin both.(Benson

Decl.(DE-63-4(14-60350)1!!9,11.)
       Sim ilarto the otherDefendants,TellabsOpsand Coriantdo notm anufacturetheW SS

devicesthatareincorporated intotheiraccused devices.TellabsOpspurchasestheW SS

devicesitusesin the accused productsfrom Finisar,Oclaro,and Oplink Corporation

(çkOp1ir1k'').(W angDecl.!6.)Similarly,CoriantpurchasestheW SS devicesthatare
incorporatedintoitsaccusedproductsfrom JDSU andFinisar.(BensonDecl.!6.)Because
TellabsOpsand Coriantdo notm anufacturetheW SS devices,they have lim ited knowledge of

thedesign and developm entoftheswitch.Thewitnessesfrom the W SS m anufacturersare

importantto TellabsOpsand Coriant'sdefensesofnon-infringementand invalidity.

    6. WSS SuppliersJDSV Finisar,Oclaro,and Oplink
        JD SU designs,develops,and supplies m any ofthe W SS devicesthatare incorporated

 into theaccusedproducts. (RetortDecl.(DE-63-5(14-60350))!5.)9Although itsW SS

 devicesaremanufactured outsidethe United States,JDSU isheadquartered in theM ilpitas,

 California.(1d.!2,11.)ItsCommunicationsand CommercialOpticalProducts(tICCOP'')
 BusinessSegm entisresponsible forthedesign,development,manufacture,m arketing,and sale

 ofW SSdevices.(1d.!7.)W hilethemajorityoftheinitialdesignanddevelopmentwas


 9     Al1Defendantssharethesam eW SS suppliers,withtheexception ofCoriantwho also
 usesO plink.In supportoftheirm otionsto transfer,D efendantstsled declarationsby certain
 employeesofthesesuppliersthatareessentiallythesameineachcase.(Compare,e.g.,Retort
 Decl.with(DE-19-5(14-20529)1.)Accordingly,theCourtwillrefertothedeclarationsfiledin
 Case No.14-60350.
                                            -   6-
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perform ed in Ottawa,Canada,JDSU'SCCOP BusinessSegmentisnow based in theNorthern

DistrictofCalifornia.(1d.!7,10.)JDSU hasnamedthreeemployeeswhooverseeW SSdesign
anddevelopment,a11ofwhom resideintheNorthern DistrictofCalifomia.(Seeitf;M umm
Decl.(17E-63-6 (14-60350(1;Kim Decl.(17E-63-7(14-60350)1.)
       Finisar,O claro,and O plink also design,develop,and supply som e ofthe W SS devices

thatare incop orated into the accused products.Finisarisheadquartered in Sunnyvale,

California;Oclaroin San Jose,California;andOplink inFremont,Califomia.(W angDecl.
(17E-63-3(14-60350))!!6-7.)Therecordcontainslimited evidenceregardingthedesign,
developm ent,and m anufacturing activitiesofthese W SS suppliers.


                     II. LegalStandardfor# 1404(a) Transfers
       StF'ortheconvenienceofpartiesandwitnesses,intheinterestofjustice,adistrictcourt
may transferany civilaction to any otherdistrictordivision whereitmighthavebeen brought

ortoanydistrictordivisiontowhichallpartieshaveconsented.''28U.S.C.j1404(a).The
purpose oftransferunderthis section is to avoid unnecessary inconvenience to the litigants,

witnesses,and the public,and to conserve tim e,energy,and m oney.Defendantsm oving for

transferbearthe burden ofproving thatthe plaintiff'schoice offorum ççis clearly outw eighed

byotherconsiderations.''Howellv.Tanner,650F.2d 610,616(5thCir.1981).
       A courtconsiders tw o questionsto detennine whethertransferring venue is appropriate.

First,isthe transferee forum one in w hich the action m ighthave been brought? Second,upon

balancingtheprivateandpublicfactors,istransferjustified?Mason v.SmithKline Beecham
ClinicalLabs., 146 F.Supp.2d 1355,1359(S.D.Fla.201l).The factors considered in
analyzing the second question include:
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       (1)theconvenienceofthewitnesses;(2)thelocation ofrelevantdocumentsand
       therelativeeaseofaccesstosourcesofproof;(3)theconvenienceoftheparties;
       (4)thelocusofoperativefacts;(5)theavailability ofprocesstocompelthe
       attendanceofunwillingwitnesses' ,(6)the relativemeansofthe parties;(7) a
       forum's familiarity with thegoveming law;(8)the weightaccorded a
       plaintiff'schoice offorum;and (9)trialefficiencyandtheinterestsofjustice,
       basedon thetotalityofthecircumstances.

Wi-LAN USA,lnc.v.AppleInc.,No.12-24318,2013W L 1343535,at*2(S.D.Fla.Apr.2,
2013)(quotingM anuelv.Convergys Corp.,430 F.3d 1132,1135 n.1 (11th Cir.2005)).

A.W hether the C laim sM ightH ave Been Broughtin the N orthern D istrictofC alifornia

       There isno dispute thatthisaction could have been broughtin the N orthern D istrictof

California.M oreover,a1lD efendants have consented to suitthere.

B.W hether T ransfer to the Northern D istrictofC alifornia is M ore C onvenientto A lI

Partiesand W itnesses

   1. Convenienceof Witnesses
       The convenience ofthe w itnesses isprobably the single m ostim portantfactor in a

transferanalysis.A districtcourtshould assessthe relevance and m ateriality ofthe inform ation

each w itness m ay provide,buta defendantneed notspecify exactly w hattestim ony each

w itnessm ightofferorotherwise identify Stkey w itnesses.''In re G enentech,Inc.,566 F.3d

1338,1343-44(Fed.Cir.2009).
       D efendantshave nam ed potentialw itnesses w ith know ledge ofthe W SS devices ofthe

accused productsand have provided explanationsofthe relevanttestim ony.The nam ed JD SU

em ployeesresponsible forthe design,developm ent,and testing ofthe W SS devicesreside in

the N orthern D istrictofCalifom ia,as do the inventors and initialprosecuting attorneysofthe

patents-in-suit.The otherW SS suppliersare also headquartered w ithin the N orthern Districtof

California and so are likely to have w itnesses w ith relevantinform ation there.A ccordingly,

                                              -   8-
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DefendantsassertthemajorityofpotentialwitnesseswithrelevantknowledgeoftheW SS
devicesarelocated in theNorthern DistrictofCalifornia.

         In contrast,none ofthe partieshave identified any w itnessesin Florida w ith relevant

infonuation.Because m any potentialwitnesses appearto be located in the N orthem D istrictof

Califom ia butnone in Florida,thisfactorstrongly favorstransfer.

         EaseofAccesstoSourcesofproof
         In patentinfringem entcases,thebulk ofthe relevantevidenceusually comesfrom the

accused infringer.In reGenentech,566F.3d at1345.Here,therelevantdoctunentary evidence

is scattered in differentlocations where D efendants are headquartered,butnone islocated in

theSouthern DistrictofFlorida.On theotherhand,m any Defendantshaveofficesin the

Northern DistrictofCalifornia,and theW SS suppliersareheadquartered there.

         H owever,as Capella suggests,docum entproduction islikely to be conducted

electronically,and there isno indication thatthiscase w illrequirephysicalevidence thatw ould

be cum bersom e to transport.See W i-LAN USA,2013 W L 1343535,at*3.A ssuch,the access-

to-evidence factorisneutral.

         TheConvenienceoftheParties
         W here a transfer sim ply shiftsthe inconvenience from one party to another,a plaintiff s

choiceofforum should remain undisturbed.Capella'schoiceoffonzm in the Southem District

ofFloridaindicatesthatitisconvenientforit.However,transfertotheNorthern Districtof

California w illnotinconvenience Capella,asits corporate headquarters and counselare located

there.

         Defendants,on the other hand,a1lappearto be inconvenienced by the Southern District

ofFlorida because none have offices within the state relating to the accused products. In

contrast,w hile D efendants m ay notallbe headquartered in California,m any have oftices
                                               -
                                                   9-
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 located in theNorthern DistrictofCalifornia,and allhaveconsentedto venue there.

 Accordingly,the convenience-of-the-parties factorw eighs in favoroftransfer.

    4. LocusofoperativeFact
        The centerofgravity fora patentinfringem entcase is generally w here the accused

 productwasdesignedanddeveloped.M otorolaMobility Inc.v.Microso? Corp.,804F.Supp.
 2d 1271,1276(S.D.Fla.2011).Capella'spleadingsandinfringementcontentionsemphasize
 the W SS,a com ponentofthe ROA D M ,m aking itclearthatthe design and developm entof

 W SS devicesand theirusein theaccused ROADM Swillbecentraloperative factsin thiscase.

 (See,e.g.,SecondAm.Compl.(DE-82(14-20530))at5!23;Prelim.Infringement
 Contentions(DE-25(14-20529)1at2.)W hiletheW SSdeviceswerenotfullydesignedand
 developed in the N orthern D istrictofCalifornia,the JD SU headqum ers,CCO P business

 segment,and engineerscurrently responsibleforthedesign and developm entofthedevicesare

 locatedthere.In contrast,neitherthe design northedevelopm entoftheW SS devicestook

 place in Florida.

        Capella argues thatDefendants supply ROA D M S foropticalnetw orksdeployed in

 Florida.How ever,D efendantsoffer the accused products forsale nationw ide,w hich doesnot

 give rise to a substantialinterestin any specific venue.See In reA cerAm erica Corp.,626 F.3d

 1252,1256(Fed.Cir.2010).
        A ccordingly,the locus ofoperative factis in the N orthern DistrictofCalifornia,not

 Florida.This factorfavors transfer.

        TheAvailability ofprocessto CompeltheAttendanceof Unwilling Witnesses
        Courtsgenerally transfercases when im portantw itnesses could be subpoenaed in the

 transferee forum butnotin the originalforum .W i-LAN USA,2013 W L 1343535,at*4.M any

 ofthepotentialwitnessesarethird party witnessesin Califom ia,whoseattendancethe
                                            -
                                                10 -
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 N orthern Districtof Califom ia can com pelw ith itsRule 45 subpoena power.The Southern

 DistrictofFlorida,how ever,carm otenforce com pulsory processoverthese potentialw itnesses

 becausenoneresidein Florida.Although Capella arguesthatdepositionsofthesewitnesses

 could beused attrial,videotaped depositionsarepoorsubstitutesforlivewitnesses,especially

 incomplexpatentcaseswherethejurorsmayhavefollow-up questionsafterredirect
 exam ination.Accordingly,thisfactorweighsin favoroftransfer.

    6. TheRelativeM eansoftheParties
        Capella'sprincipalargum entisthatitis a sm allcom pany thatneedsto protectits

 patentsin a forum thatisfasterthan the N orthern D istrictofCalifornia.H ow ever,Capella is

 only sm allbecauseitdecidedto sellitsassets,and thedifferencein time forprosecuting patent

 casesbetw een the tw o districtsisatm ostsix m onths,w hich can hardly be considered

 problem atic.A ccordingly,this factorisatm ostneutral.

    7. ,4 Forum '
                s F am iliarity with the Governing Law

        Both districtsare fam iliarw ith federalpatentlaw .Thisfactorisneutral.

    8. PlaintffsChoiceofForum
        Generally,theplaintiffschoiceoffonlm isgiven considerabledeference.Robinson v.

 Giarmarco drBill,P.C.,74F.3d253,260(1lth Cir.1996)(plaintiff'schoiceofforum should
 notbedisturbedunlessitisclearlyoutweighedbyotherconsiderations).However,only
 minimaldeferenceisrequiredwhere(a)aplaintiffhaschosenafonzm thatisnotitshome
 forum or(b)theoperativefactsunderlyingthecauseofactiondidnotoccurwithintheforum
 the plaintiffhas chosen.Cellularvision Techs.tt Tellecom m .,L.P.v.AlltelCorp.,508 F.Supp.

 2d 1186,1889(S.D.Fla.2007);Wi-LAN USA,2013W L 1343535,at#5.
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        Capella is a D elaw are corporation with itsprincipalplace ofbusinessin San Jose,

 Califom ia.Itsseniorm anagem entand lead counsela11reside in theN orthern Districtof

 Califom iawith no ofûcesoroperationslocated in Florida.Aspreviously discussed,thelocus

 ofoperativefactisin theN orthern DistrictofCalifornia.BecausetheSouthern Districtof

 FloridaisneitherCapella'shom eforum northelocusofoperative fact,Capella'schoiceis

 entitled to m inim aldeference,and thisfactorw eighsonly w eakly againsttransfer.

    #. TrialEm ciencyandtheInterestsoflustice
        The Courtmustalso takeinto consideration thepublic-interestconsiderationsof

 systemicintegrityandfairness,suchasjudicialefficiencyandtheforum state'scolmectionto
 thedispute.SeeM otorolaM obility,804 F.Supp.2d at1278.

        The N orthern D istrictofCalifornia's localinterestis greaterthan the Southez.
                                                                                     n D istrict

 ofFlorida'sinterestbecausethemajorityofthepartiesandthirdpartieshaveeither
 headquartersormajorofficeslocatedwithintheNorthernDistrictofCalifomiaanda11conduct
 businessthere.In contrast,asdiscussed above,none ofthe partieshave signiticantcontacts

 with the Southern DistrictofFloridaand allwitnessesreside outsideofFlorida.

        Asforjudicialefficiency,thesecaseshavebeenccmsolidatedforpretrialcase
 managem entbecausethey involvethesamepatentsand substantially sim ilarissuesof

 infringem ent,and they should remain consolidated in eitherforum .W hile Capellam ay be

 correctin assertingthatthe Southern DistrictofFlorida'sdocketisminimally lesscongested,

 this consideration isoutweighed by this district's lack ofconnection to the dispute.See In re

 Genentech,Inc.,566F.3dat1347(timetotrialmaybeaconsiderationinthetransferanalysis,
 butshouldnotoutweighseveralotherrelevantfactorspointingtheotherway).Accordingly,on
 balance,theinterests-of-justicefactorfavorstransfer.


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                                      111. Conclusion

        W hen a11oftherelevantfactorsareconsidered,theCourtfindsthatDefendantshave

 m ettheirburden ofshow ing thattransferofthese fourcases to the N orthern D istrictof

 Califom ia isappropriate,pm icularly given the lim ited deference owed Capella'schoice ofa

 venue w hich isneither itsresidence northe locus ofoperative fact.Accordingly,itis

        ORD ERED that

               ln Capella Photonics,lnc.v.Cisco Sys.,lnc.,Case N o.14-20529:

                   Cisco'sM otiontoTransferVenue(DE-191isGRANTED.
               In Capella Photonics,Inc.v.Ciena Corp.,eta1.,CaseN o.14-20530:

                   Ciena'sM otiontoTransferVenue(DE-431isGRANTED.
               InCapellaPhotonics,lnc.v.FujitsuNetwork Commc'ns,CaseNo.14-20531:
               a. FNC'SM otiontoTransferVenuegDE-251isGRANTED.
        4)     InCapellaPhotonics,lnc.v.Tellabs,lnc.,eta1.,CaseNo.14-60350:
               a. TellabsOpsandCoriant'sM otion toTransferVenue(DE-63jis
                   GRAN TED .

               TheClerk shallTRANSFER the fourabove-styled actionsto the United States

               D istrictCourtforthe N orthern D istrictofCalifom ia.The notice oftransfer

               shallnote thatthe caseshave been consolidated forpretrialpurposes.
        DONE andORDEM D inM iami, Florida,this / 5X-dayofJuly,2014.
                                                                   *   .z
                                                          -



                                                   PA TRICIA A .SEITZ
                                                   UN ITED STA TES D ISTRICT JU DG E

 cc:    AllCounselofRecord
